IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

GRAMERCY INSURANCE COMPANY

5000 Quorum Drive, Suite 111
Dallas, TX 75254 : Civil Action No. 3:12-CV~509

Plaintiff, : Judge Haynes

V.

EXPEDITOR’S EXPRESS, INC.
P.O. Box 79
Madison, TN 37116

and

JOHN TULLIS
616 Kinsey Blvd.
Madison, TN 37115

and

WILLIAM LITTLEFIELD

dba LITTLEFIELD BROTHERS,
a sole proprietorship

242 West Main Street, #387
Hendersonvi11e, TN 37075

and

SHIRLEY A. BROWN, Administrator
of Estate of Donald D. Underwood
169 N. lmperial Drive

Denison, TX 75020

Defendants.
AMENDED ORDER

This matter Was before the Court on Ju1y 16, 2012 for an initial case management
conference The Plaintiff, Gramercy Insurance Company, Was represented by Attorney Steven
W. Keyt. The Defendant, Shirley A. BroWn, Was represented by Attorney Grace E. Daniell. The
Defendant, John Tullis, appeared pro se.

The Court discussed With the parties Whether there Was a fact issue Which Would be

determinative of this declaratory judgment action and Which Would be decided in the State Coui“t

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tort action brought by Ms. Shirley A. Brown. Counsel for the Plaintiff advised there Was no fact
issue because the decedent, Dona1d D. Undervvood, Was an employee of Gramercy’s insured,
Expeditor’s Express, Inc., as a matter of law. Counsel for Ms. Brown indicated there Was a fact
issue concerning Mr. Underwood’s status at the time of the accident Which might be decided in
the State Court tort action.

The Court directed counsel to exchange authorities and discuss the matter. lf they
reached an agreement that there Was no factual issue Which Would be decided in the State Court
tort action, they Were to advise the Court and suggest a briefing schedule If they did not agree,
they Were directed to file, for the Court’s consideration, an order setting forth their respective
positions The parties have submitted this Order setting forth their positions concerning the
existence of a fact issue With regard to the employee status of Mr. Underwood at the time of the
accident and Whether it Will be decided in the State Court tort action.

I. POSITION OF PLAINTIFF, GRAMERCY INSURANCE COMPANY

lt is the position of Gramercy lnsurance Company the decedent, Dona1d D. Underwood,
was an employee of Expeditor’s Express, Inc. at the time of the accident and, accordingly, the
policy provides no coverage for claims arising out of injuries sustained by Mr. UnderWood or his
death. lt is the Plaintiff’s position the following points are undisputed:

l. l\/lotor carriers operating in interstate commerce must have minimum levels of
financial responsibility in the form of a surety bond, certificate of insurance or other securities
49 U.S.C. § 13906 and 49 C.F.R. Part 387. Policies of insurance issued to satisfy the financial
responsibility requirement must have “Endorsement (s) for Motor Carrier Policies of lnsurance
for Public Liability Under Sections 29 and 30 of the l\/lotor Carrier Act of 1980” (Form MCS~
90). 49 C.F.R. § 387.7(d). The required MCS-90 endorsement is set out in lllustration l to 49

C.F.R. § 387.15.

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2. The commercial automobile policy issued by Gramercy Insurance Company to
Expeditor’s Express, Inc. (policy number GlC41-1921-00127) includes trucker’s declarations
The terms of the policy are set forth in a trucker’s coverage form. The policy includes the
“Endorsement for Motor Carrier Policies of lnsurance for Public Liability Under Section 29 and
30 of the Motor Carrier Act of 1980” or Form MCS~90. Notice of Filing Ce)'tified Copy of
Gramercy Insurance Company Policy [Doc. ]O].

Form MCS~9O contains the following statement:

The insurance policy to which this endorsement is attached provides
automobile liability insurance and is amended to assure compliance by the
insured, within the limits stated herein, as a motor carrier of property, with
Sections 29 and 30 of the Motor Carrier Act of 1980 and the rules and
regulations of the Federal Motor Carrier Safety Administration.

Form MCS-90, page l.
3. The term “employee” with regard to the operator of a commercial motor vehicle
in interstate commerce is defined by statute and regulation

(2) “employee” means an operator of a commercial motor vehicle
(including an independent contractor when operating a commercial
motor vehicle), a mechanic, a freight handler, or an individual not
an employer, who ~

(A) directly affects commercial motor vehicle safety in the course
of employment; and

(B) is not an employee of the United States Government, a State
or a political subdivision of a State acting in the course of the
employment by the Government, a State, or a political
subdivision of a State.

49 U.S.C. § 31132

Employee means any individual, other than an employer, who is
employed by an employer and who in the course of his or her
employment directly affects commercial motor vehicle safety.
Such terms include a driver of a commercial motor vehicle
(including an independent contractor while in the course of
operating a commercial motor vehicle), a mechanic, and a freight
handler Such term does not include an employee of the United
States, any State, any political subdivision of a State, or any
agency established under a contract between States and approved

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by the Congress of the United States who is acting within the
course of such employment

49 C.F.R. § 390.5
4. Dona1d D. Underwood was operating a 1997 Volvo tractor~trailer on August 5,
2010 in interstate commerce when he was involved in a single~vehicle accident which claimed
his life. Gramercy lnsurance Company alleged in paragraph 8 of its Complaint for Declaratory
Judgment

8. On August 5, 2010, Mr. Underwood was operating a 1997 Volvo

truck tractor owned by Defendant Littlefield and leased to

Defendant Expeditor’s Express, lnc. in connection with Expeditor’s

Express, lnc.’s business as a federally~authorized interstate motor

carrier. Upon information and belief, Mr. Underwood was

transporting magazines in interstate commerce to a consignee in
Atlanta, Georgia.

Complairtt for Declaratory Judgmerzt [Doc. ]], page 3 paragraph 8.

The Defendant, Ms. Shirley Brown, answered the Complaint for Declaratory Judgment,
indicating she did not dispute the allegations contained in the above cited paragraph Answer of
Defendant ShirleyA. Brc)w/z [Doc. 8], page 2 paragraph 8.

5. Dona1d D. Underwood was an “employee” pursuant to 49 U.S.C. § 31132 and
pursuant to 49 C.F.R. § 390.5.

6. The Gramercy Insurance Company policy does not provide coverage for bodily
injury to an “employee.” T he Trucl<ers Coverage Form contains an exclusion for bodily injury to
an “einployee.”

B. Exclusions

This insurance does not apply to any of the following:

4. Employee Indemnif”lcation And Employer’s Liability
“Bodily injury” to:

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a. An “employee” of the “insured” arising out of and in
the course of:

(l) Employment by the “insured;” or

(2) Performing the duties related to the conduct of
the “insured’s” business; or

Notice of Filing Certified Copy of Gramercy lnsurance Company
Policy [Doc. ]O], .Truckers Coverage Form, page 4.

The endorsement for motor carrier policies of insurance for public liability under Section
29 and 30 of the Motor Carrier Act of 1980 (Form MCS~90) to the Gramercy lnsurance

Company policy also excludes coverage for injury to or death of “employees.”

Such insurance as is afforded, for public liability, does not apply to injury
to or death of the insured’s employees while engaged in the course of their
employment, or property transported by the insured, designated as cargo.

Notice af Fz`ling Certifl.'ed COpy of Gramercy Insurance Company Policy [Doc. ]0],

Endorsemeat for Motor Carrier Policies of Irtsurance for Pal)lz.`c Liability under Section

29 ana’ 30 Of the M0t0r Carrier/let of 1980 (Form MCS-90).

The Gramercy Insurance policy does not provide coverage for bodily injury to or death of
employees

7. The determination the decedent, Dona1d D. Underwood, was an “employee” is
dispositive of the present declaratory judgment action. Dona1d D. Underwood was an
“employee” as a matter of law in that he was operating the 1997 Volvo tractor owned by
Defendant Littlefield and leased to Defendant Expeditor’s Express, lnc. in connection with
Expeditor’s Express, lnc.’s business as a federally-authorized interstate motor carrier and in

interstate commerce The Gramercy Insurance Company Trucl<ers Coverage Form excludes

coverage for bodily injury to an “employee.”

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8. lt is unlikely the issue will be resolved in the State Court tort action filed by Ms.
Shirley Brown as Administrator of the Estate of Dona1d D. Underwood. Coverage is not at issue
in that litigation The Plaintiff’s theories of liability in the tort action are not premised on Mr.
Underwood’s status as an “employee.” Complaim in the case of Shirley A. Brown,
Administrator of the Estate of Donach D. Underwood v. Morzteagle Truck and Tire, Inc., et al.,
Exhibz`f 1 hereto. No defense has been asserted by Expeditor’s Express, lnc. based upon the
status of Dona1d D. Underwood as an “employee.” Answer of Expeditor’s Express, Inc. in the
case of Shirley A. Brown, Admi/zistrator of the Estate af Dona1d D. Underwood v. Monteagle
Truck and Tz`re, Inc., et al., Ex/zibit 2 hereta.

9. The position of Gramercy Insurance Company in this declaratory judgment action
has been considered and adopted by other Courts.

A case directly on point is Consumers Cozmty Mutual Insurance Co. v. P.W. & Sons
Trac/cl'ng, Inc., 307 F.3d 362 (5t/z Cir. 2002 ). P.W. & Sons Trucl<ing, Inc. was a small trucking
company insured by a commercial auto insurance policy issued by Consumers County Mutual
Insurance Co. P.W. & Sons Trucking, Inc. hired two drivers, Paillet and Bob, on a “load-by-load
basis.” Paillet and Bob delivered four loads without incident but were involved in a one~vehicle
accident on a return trip from Texas. Bob was driving the tractor~trailer and Paillet was asleep in
the truck’s sleeper birth. Bob died at the scene and Paillet sustained serious injuries Paillet filed
suit against P.W. & Sons Trucking. Thereafter, Consumers filed a declaratory judgment action
based on the policy’s exclusions relating to liability for injuries to employees Consumers
argued only that, because Paillet was an “employee” of P.W. & Sons Trucking, his injuries were
excluded from coverage by one of the policy’s employee exclusions Consumers filed a Motion
for Sumrnary Judgment which was sustained by the District Court because Paillet was a
“statutory employee” of P.W. & Sons and in reliance upon 49 C.F.R. § 390.5 of the Department
of Transportation Regulations.

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The United States Court of Appeals noted the policy at issue was a public~liability policy
designed specifically for use by motor carriers in the interstate trucking industry. Federal law
requires motor carriers to have public-liability insurance in order to obtain an operating permit.
There was no question P.W. & Sons Trucl<ing’s policy was drafted to comply with the federal
insurance requirements Accordingly, those requirements must govern the interpretation of the
policy’s terms 49 C.F.R. § 390.5 was enacted pursuant to authority granted by the Motor
Carrier Safety Act and is central to the regulatory scheme. Section 390.5 eliminates the common
law employee/independent contractor distinction which serves to discourage motor carriers from
using the independent contractor relationship to avoid liability exposure at the expense of the
public. The Court of Appeals found it reasonable to conclude the parties intended Section 390.5
to supply the definition of the term employee in the policy.

The United States Court of Appeals noted a contrary construction would lead to an
unacceptable result. ln a case involving a collision between a negligent driver of a commercial
motor vehicle and an innocent third party, the driver would be considered an employee for
purposes of coverage for a third party’s injuries However, the driver would be an independent
contractor to determine whether the employee exclusions preclude coverage for the driver’s
injuries Absent some indication in the policy, the Court of Appeals would not assume the
parties intended such a result. The United States Court of Appeals affirmed the District Court’s
grant of summary judgment for Consumers County Mutual Insurance Co.

In sum, we conclude that the district court properly relied on § 390.5 to
determine that Paillet was an employee of PWS for purposes of the
policy’s employee exclusions Because Paillet is an employee under §
390.5 regardless of whether he would have been considered an employee
or an independent contractor at common law, the policy’s employee

exclusions apply to preclude coverage in this case. Therefore, the district
couit’s grant of summary judgment to Consumers is AFFIRMED.

Consumers County MLttztal Insurance C0. v. P.W. & Sons TrL¢c/cing, Inc., 307 F.3alv 362,
367 (5t/z Cz'r. 2002).

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The United States District Court in Barabash v. Love’s Travel Stops & Country St0res, et
al. 201 l WL 4381730 (E.D.La. ), copy attached hereto, reached the same result based upon the
same reasoning Petro Barabash was driving a tractor-trailer owned by Sherman & Son
Transportation Corp. when he was involved in an accident on his way back to New Jersey. The
left front tire failed suddenly and the truck traveled into the median between the east and
westbound lanes, striking several trees Mr. Barabash was injured in the accident. Sherman &
Son Transportation Corp. had an insurance policy issued by Zurich American Insurance
Company. Zurich American had issued a truckers liability policy which excluded from coverage
bodily injury to an “employee” of the insured arising out of the employment Id., at page 2.
Zurich American moved for summary judgment on that basis The Court sustained the Motion

for Summary Judgment.

Zurich American contends that the employee exclusions contained in the
policy it issued to S & S apply to preclude coverage for Barabash’s claims
here. Zurich American points out that the policy it issued is a public-
liability policy designed for use by motor carriers in the interstate
trucking industry to comply with federal insurance requirements under the
l\/lotor Carrier Safety Act of 1984, 49 U.S.C. § 13906; 49 C.F.R. § 387.1,

et seq.

Zurich American contends that Barabash is a statutory employee of S & S
under § 390.5 of the Department of Transportation regulations, regardless
of whether he is considered an employee or an independent contractor at
common law or under Louisiana law. The Court agrees

The Motor Carrier Safety Act and its related regulations govern the
meaning of terms under insurance policies designed to comply with
federal requirements for motor carriers. Consumers County Mnt. Ins. Co.
v. P.W. & Sons Trnc/cing, Inc., 307 F.3d 362, 366 (5th Cir. 2002), 49

C.F.R. § 390.5, defines “employee” as:

Id. at page 5.
Similar holdings are found in the cases of Canal Insurance v. A & R Transportation and
Warehouse, LLC, 827 N.E.Zd 942 (Ill.App.2005) wherein the Court found the driver was a

“statutory employee” of the trucking company based upon 49 C.F.R. § 390.5, and United
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Financial Casnalty Company v. Ahe Hershberger & Sons Tracking, Ltd., 2012 WL 4577]5
(Ohio App.) (copy attached) holding a driver riding in the passenger seat for the purposes of
training another driver was a “statutory employee” based upon the definition of “employee”
contained in 49 U.S.C. § 31132(2) and 49 C.F.R. § 390.5.
CONCLUSION

Gramercy Insurance Company respectfully submits the status of Dona1d D. Underwood
as an employee of Expeditor’s Express, Inc. is dispositive of this declaratory judgment action.
The Gramercy Insurance policy specifically excludes coverage for bodily injury to an employee
The policy was provided to Expeditor’s Express, lnc. to Satisfy the financial responsibility
requirement for motor carriers operating in interstate commerce contained in 49 U.S.C. § 13906
and 49 C.F.R. Part 387. At the time of the accident which claimed his life, Mr. Underwood was
operating a 1997 Volvo tractor owned by Littlefield and leased to Expeditor’s Express, lnc. in
connection with Expeditor’s Express, Inc.’s business as a federally~authorized interstate motor
carrier and in interstate commerce Mr. Underwood was an “employee” of Expeditor’s Express,
Inc. at the time of the accident and pursuant to 49 U.S.C. § 31132 and 49 C.F.R. § 390.5. There
is no factual issue to decide

lt is unlikely the State Court tort action will resolve whether Mr. Underwood was an
employee or independent contractor pursuant to Tennessee common law. No cause of action
pled by the Plaintiff and no defense raised by the Defendants requires resolution of that issue.
Even if Mr. Underwood’s status as an employee or independent contractor pursuant to Tennessee
common law were decided, it would be irrelevant to disposition of the declaratory judgment
action since the definition of “employee” used in the Truckers Coverage Form of the Gramercy
Insurance policy and the Form MCS~90 endorsement are set forth at 49 U.S.C. § 31132 and 49

C.F.R. § 390.5.

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II. POSITION OF DEFENDANT, SHIRLEY A. BROWN

Defendant, Shirley A. Brown, disagrees with Plaintiff’s contention that it is a matter of
law as to whether Mr. Underwood was an “employee” of Defendant, Expeditor’s Express, and
therefore excluded from coverage under the Gramercy policy of insurance Defendant submits
that there are factual issues as to Mr. Underwood’s relationship with Defendant, Expeditor’s
Express, which are at issue in the underlying state court action and may be determinative of the
declaratory judgment action pending before this Court.

Defendant, John Tullis, stated to this Court at the case management conference that Mr.
Underwood was not an employee of Expeditor’s Express. In addition, Defendant believes that it
will be shown in the underlying tort action that Expeditor’s Express did not consider Mr.
Underwood to be an employee and did not provide Worker’s Compensation coverage for Mr.
Underwood. Therefore, Plaintiff is estopped from claiming that Mr. Underwood was an
employee of Defendant, Expeditor’s Express, and excluded from coverage under its policy in
this action.

ln addition, the MCS~90 endorsement to the Gramercy policy which is relied upon by
Plaintiff to allegedly exclude coverage to Mr. Underwood is not triggered in this case since the
underlying policy provides more than the minimum required coverage under the Federal Motor
Carrier Safety Act for this accident Even if the policy had failed in this regard and the MCS~90
endorsement was applicable the Sixth Circuit Court of Appeals has rejected the holding from
other Circuits that the driver of a leased vehicle is not an intended beneficiary of the Act. The
Sixth Circuit has held that drivers of leased trucks are included among the members of the public
to whom protection is afforded under the Act. See Johnson v. S.O.S. Transport, Inc., 926 F.2d

516 (6"1 Cir. 19911.

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The Court will consider the positions of the parties set forth above An Order will be

entered d'n'ecting the parties concerning further proceedings m this declaratory judgment action.

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